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                             UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF MICHIGAN

 MARK GOTTSLEBEN, individually and on behalf
 of all others similarly situated,                         CASE NO. 1:22-cv-00866-HYJ-RSK
                                                           CLASS ACTION
                                Plaintiff,
                                                           Chief Judge Hala Y. Jarbou
         vs.                                               Magistrate Judge Ray Kent

 INFORMA MEDIA, INC. F/K/A PENTON MEDIA,
 INC.,

                                Defendant.


                        DEFENDANT INFORMA MEDIA, INC.’S
               MOTION TO EXTEND TIME TO FILE RESPONSIVE PLEADING

         Defendant Informa Media, Inc. (“Defendant”) respectfully requests that the Court extend

 its time to file a responsive pleading (see ECF no. 53) pursuant to Fed.R.Civ.P. 6(b)(1)(B). In

 support of this Motion, Defendant hereby submits the attached Memorandum and Declaration and

 states as follows:

         1.      Informa respectfully requests that the Court accept the filing of its Answer, which

 accompanies this motion, one day after the original responsive pleading deadline of July 21, 2023.

 Informa acted diligently in obtaining Plaintiff’s consent to file the answer on July 24, 2023, instead

 of July 21, 2023, which Plaintiff provided on July 21, 2023.

         2.      Informa neglected to bring the parties’ stipulation to the Court’s attention or

 otherwise file a joint motion on Friday, July 21, 2023 in light of its attention to document

 production issues raised by Plaintiff on the same day. Informa’s failure to file it’s answer on July

 21, 2023 is excusable and was not done in bad faith.




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 DATED: July 24, 2023            Respectfully submitted,

                                 BLANK ROME LLP

                                 By: /s/ Ana Tagvoryan
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on July 24, 2023, I caused the foregoing to be electronically filed with

 the Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

 attorneys or parties of record.



                                           By: /s/ Ana Tagvoryan
                                                   Ana Tagvoryan




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